






MEMORANDUM OPINION

No. 04-06-00580-CR

Miguel A. ALVAREZ,

Appellant

v.

The STATE of Texas ,

Appellee

From the 399th Judicial District Court, Bexar County, Texas

Trial Court No. 2004-CR-2389

Honorable Juanita A. Vasquez-Gardner , Judge Presiding




PER CURIAM



Sitting: Alma L. López , Chief Justice

  Catherine Stone , Justice

  Sarah B. Duncan , Justice



Delivered and Filed: September 27, 2006



DISMISSED

 The trial court's certification in this appeal states that the case is a "plea-bargain case, and the defendant has NO right of
appeal."  Rule 25.2(d) of the Texas Rules of Appellate Procedure provides, "[t]he appeal must be dismissed if a certification
that shows the defendant has a right of appeal has not been made part of the record under these rules."  Tex. R. App. P.
25.2(d). 

 Appellant's counsel has filed written notice with this court that counsel has reviewed the record and "can find no right of
appeal for Appellant."  We construe this notice as an indication that appellant will not seek to file an amended trial court
certification showing that he has the right of appeal.  See Tex. R. App. P. 25.2(d); 37.1; see also Daniels v. State, 110
S.W.3d 174, 177 (Tex. App.--San Antonio 2003, no pet.).  In light of the record presented, we agree with appellant's
counsel that Rule 25.2(d) requires this court to dismiss this appeal.  Accordingly, this appeal is dismissed.

       PER CURIAM

DO NOT PUBLISH


